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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                 HON. AMIT P. MEHTA

 Google LLC,

                               Defendant.




                  DEFENDANT GOOGLE LLC’S ANSWER AND
         AFFIRMATIVE DEFENSES TO PLAINTIFFS’ AMENDED COMPLAINT

       Defendant Google LLC (“Google”) answers Plaintiffs’ Amended Complaint, through its

undersigned counsel, as set forth below. Google generally denies the legal claims asserted in

Plaintiffs’ Amended Complaint. Google further states that for nearly a quarter century, Google’s

mission has been to organize the world’s information and make it universally accessible and

useful. To further that mission, Google has developed, continually innovated, and promoted

Google Search for use by consumers all over the world. People use Google Search because they

choose to, not because they are forced to or because they cannot easily find alternative ways to

search for information on the Internet.

                         RESPONSE TO NUMBERED PARAGRAPHS

       The section headings in the Amended Complaint do not require a response. To the extent

that the section headings contain allegations requiring a response, Google denies all such

allegations.

       1.      Google admits that it was founded in a Menlo Park garage 22 years ago and that it



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created an innovative way to search the internet, Google Search, but denies the remaining

allegations in the first sentence of Paragraph 1 of the Amended Complaint. Google admits that its

parent company, Alphabet Inc., has a roughly $1 trillion market capitalization and had revenue

exceeding $160 billion in 2019, but denies that these allegations apply to Google LLC, the

Defendant in this case. Google denies the remaining allegations in Paragraph 1 of the Amended

Complaint.

       2.      Google admits that consumers often access search products and services through

mobile devices, laptops, and desktops that contain web browsers and other search access points.

Google denies the remaining allegations in the first, second, and third sentences of Paragraph 2 of

the Amended Complaint. As to the fourth sentence of Paragraph 2 of the Amended Complaint,

Google admits that over the last ten years, internet searches on mobile devices have grown and by

some measures today exceed searches on laptops and desktops, but denies the remaining

allegations in this sentence.

       3.      Google denies the allegations in Paragraph 3 of the Amended Complaint.

       4.      Google denies the allegations in the first sentence of Paragraph 4 of the Amended

Complaint. As to the second sentence of Paragraph 4 of the Amended Complaint, Google admits

that it has entered into various agreements with mobile device manufacturers (such as Apple, LG,

Motorola, and Samsung), carriers (such as AT&T, T-Mobile/Sprint, and Verizon), and browser

developers (such as Mozilla, Opera, and UCWeb) for the promotion of Google’s products and

services, including agreements that provide for Google’s search service to be the out-of-the-box

default search service for certain search access points, that, in exchange, Google shares a portion of

revenue received from devices enrolled, and that Google has shared revenue in cumulative

amounts in the billions, but denies Plaintiffs’ characterization of those agreements and denies that



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Google prohibits counterparties from dealing with Google’s competitors. As to the third sentence

of Paragraph 4 of the Amended Complaint, Google admits that it has entered into agreements that

provide for preinstallation of a suite of Google apps and that these agreements contain various

provisions regarding placement of certain Google apps on devices’ system partitions and default

home screen for the out-of-the-box settings, but denies Plaintiffs’ characterization of those

agreements. Google denies the remaining allegations in this paragraph.

       5.      Google denies the allegations in Paragraph 5 of the Amended Complaint.

       6.      Google denies the allegations in Paragraph 6 of the Amended Complaint except

Google admits that some dictionaries do refer to “Google” as a verb.

       7.      Google denies the allegations in the first sentence of Paragraph 7. As to the

allegations in the second sentence of Paragraph 7 of the Amended Complaint, Google admits that

its products and services sometimes return advertisements in response to user search queries, but

denies the remainder of the allegations on the grounds that “consumer search queries” and

“consumer information” are undefined, rendering those allegations vague as a matter of law.

Google admits that advertisers made payments to Google to place ads on Google’s search engine

results page (SERP). Google denies the remaining allegations in Paragraph 7 of the Amended

Complaint.

       8.      Google denies the allegations in the first and fourth sentences of Paragraph 8 of the

Amended Complaint. As to the second sentence of Paragraph 8 of the Amended Complaint,

Google admits that its search products and services use complex algorithms that may take into

account data generated as a result of earlier queries, but lacks sufficient information regarding the

use of algorithms by other search products and services, and on that basis denies the remaining

allegations in this sentence. As to the third sentence of Paragraph 8 of the Amended Complaint,



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Google admits that in 2009, BusinessWeek published an article attributing the quoted language to

Eric Schmidt, Google’s former CEO.

       9.      Google denies the allegations in the first and fourth sentences of Paragraph 9 of the

Amended Complaint. Google lacks sufficient information as to the second sentence of Paragraph

9 of the Amended Complaint and, on that basis, denies the allegation. As to the third sentence of

Paragraph 9 of the Amended Complaint, Google admits that DuckDuckGo claims to differentiate

itself from Google, but lacks sufficient information regarding DuckDuckGo’s policies and

practices, and on that basis denies the remaining allegations in this sentence.

       10.     Google denies the allegations in the first sentence of Paragraph 10 of the Amended

Complaint. The allegations in the second sentence of Paragraph 10 of the Amended Complaint

contain legal conclusions to which no answer is required, and to the extent any answer is required,

Google refers to the D.C. Circuit’s decision in United States v. Microsoft for its content and denies

the remaining allegations regarding Google’s conduct.

       11.     Google denies the allegations in the first and second sentences in Paragraph 11 of

the Amended Complaint. As to the allegations in the third sentence of Paragraph No. 11 of the

Amended Complaint, Google admits the existence of a document with the quoted language, but

denies the remainder of Plaintiffs’ allegations characterizing the substance of that document. As to

the remaining allegations in Paragraph 11 of the Amended Complaint, Google admits the existence

of public reports containing the quoted language, but denies the remainder of Plaintiffs’ allegations

characterizing the substance of that language.

       12.     Google denies the allegations in Paragraph 12 of the Amended Complaint.

       13.     Google denies the allegations in Paragraph 13 of the Amended Complaint.

       14.     The allegations in Paragraph 14 of the Amended Complaint are legal conclusions



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not subject to admission or denial. To the extent a response is required, Google denies the

allegations in Paragraph 14 of the Amended Complaint.

       15.     The allegations in Paragraph 15 of the Amended Complaint are legal conclusions

not subject to admission or denial. To the extent a response is required, Google denies the

allegations in Paragraph 15 of the Amended Complaint.

       16.     The allegations in Paragraph 16 of the Amended Complaint are legal conclusions

not subject to admission or denial. To the extent a response is required, Google does not dispute

subject matter jurisdiction.

       17.     The allegations in Paragraph 17 of the Amended Complaint are legal conclusions

not subject to admission or denial. To the extent a response is required, Google does not dispute—

for purposes of this action only—the personal jurisdiction of this Court, but Google otherwise

denies the allegations in Paragraph 17 of the Amended Complaint.

       18.     Google admits that it is a limited liability company organized and existing under the

laws of the State of Delaware and that it maintains a Mountain View, California business address.

Google further admits that it is a subsidiary of XXVI Holdings Inc., which is a subsidiary of

Alphabet Inc. Google further admits that Alphabet Inc. is a publicly traded company that is

incorporated and existing under the laws of the State of Delaware and that maintains its principal

executive offices in Mountain View, California. The allegations of the third sentence in Paragraph

18 of the Amended Complaint are legal conclusions not subject to admission or denial. Google

admits the allegations of the fourth sentence in Paragraph No. 18 of the Amended Complaint.

       19.     Google admits the allegations in Paragraph 19 of the Amended Complaint, but

denies the characterization of these search products and services as “general search engines” as

Plaintiffs use that term in their Amended Complaint.



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       20.     Google admits that some search products and services, including Google Search,

use software to “crawl” the internet and index webpages, but lacks sufficient information as to the

precise methodology of “[m]ost modern” search products and services and, on that basis, denies

the remaining allegations in the first sentence of Paragraph 20 of the Amended Complaint. Google

admits that its website contains the quoted language in the second and third sentence of Paragraph

20 of the Amended Complaint.

       21.     Google admits that some search products and services use algorithms to evaluate

the relevance of information on a webpage to a user’s query and that, depending on the query,

some search products and services may include features designed for particular categories of

queries. Google admits that some search products and services deliver results on a search engine

results page, or SERP, with links to and descriptions of the webpages. Google admits that some

search products and services serve ads with some of the search results. Google denies any

remaining allegations in Paragraph 21 of the Amended Complaint.

       22.     Google admits that it spends significant resources maintaining its search products

and services, but lacks sufficient information as to the cost of establishing and/or maintaining other

search products and services and, on that basis, denies the allegations in the first and fourth

sentences of Paragraph 22 of the Amended Complaint. Google admits the allegations in the

second sentence of Paragraph 22 of the Amended Complaint. Google denies the allegations in the

third sentence of Paragraph 22 of the Amended Complaint. Google denies the remaining

allegations in Paragraph 22 of the Amended Complaint.

       23.     Google admits that its search products and services can be used by consumers to

search the internet for answers to a wide range of queries, admits that DuckDuckGo publicly states

that it combines search results from different sources (including Microsoft’s Bing) depending on



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the search query, and admits that it has been publicly reported that Verizon’s Yahoo! does not

currently crawl the internet and instead purchases search results from Microsoft’s Bing, but

otherwise denies the allegations in the Paragraph 23 of the Amended Complaint.

       24.     With respect to the first sentence of Paragraph 24 of the Amended Complaint,

Google admits that consumers can find information online using search products and services other

than Google Search, but denies the remainder of the sentence including on the grounds that

“specialized information” is vague as a matter of law. With respect to the second sentence of

Paragraph 24 of the Amended Complaint, Google admits that consumers can use search products

and services such as Amazon or eBay to shop for products, or Expedia or Priceline to compare

airfares, but denies the allegations in the remainder of the sentence. Google denies the allegations

in the third and fourth sentence of Paragraph 24 of the Amended Complaint.

       25.     Google admits that some search products and services, including Google Search,

are available to consumers free of charge. Google admits that the website for Microsoft’s Bing

states that it offers consumers rewards for using Bing. Google admits that when a consumer uses

Google, the consumer can choose to provide certain information to Google. Google admits that it

sometimes sells ads. Google denies any remaining allegations in Paragraph 25 of the Amended

Complaint.

       26.     Google admits the allegations in Paragraph 26 of the Amended Complaint.

       27.     Google admits that it adopted an auction system in the early 2000s to allocate

limited advertising space on its SERP, whereby advertisers bid on keywords and the winning

bidder’s ad is shown in response to certain queries; that some advertisers pay only when a user

clicks on the ad; that Google sometimes displays multiple ads; and that Google takes ad quality

and relevance into account to determine the placement of ads. Google denies the remaining



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allegations in Paragraph 27 of the Amended Complaint.

       28.     Google admits that advertisers can have different objectives and that ads can be

used to meet those objectives. Google admits that the term “purchase funnel” may be used by

some. To the extent that Figure 1 purports to depict, construe, or describe marketers’ or

advertisers’ understanding of the “purchase funnel,” no response is required; to the extent a

response is required, Google denies that Figure 1 presents a fair and complete description of the

matters described therein and, on that basis, denies the allegations contained in Figure 1. Google

denies the remaining allegations and the accuracy of Figure 1 in Paragraph 28 of the Amended

Complaint.

       29.     Google admits that some potential customers interested in purchasing a product

may search for that product and that search ads can therefore be helpful in enabling advertisers to

reach these interested customers. Google denies the remaining allegations in Paragraph 29 of the

Amended Complaint.

       30.     Google admits that it sells some search ads that appear on a SERP in a format

similar to the format of organic search results, which Google has referred to collectively as the “10

blue links,” and that search ads include a notation that they are “ads” or “sponsored.” To the

extent that Figure 2 purports to depict, construe, or describe Google Search text ads or organic

search results, no response is required; to the extent a response is required, Google denies that

Figure 2 presents a fair and complete description of the matters described therein and, on that

basis, denies the allegations contained in Figure 2. Google lacks sufficient information as to the

remaining allegations in Paragraph 30 of the Amended Complaint and, on that basis, denies the

remaining allegations.

       31.     Google admits that some search products and services, including Google Search,


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can display different ad formats, including text ads that can be used to advertise products, hotels,

local services, and certain other categories of goods and services. To the extent that Figure 3

purports to depict, construe, or describe portions of Google’s SERP, no response is required; to the

extent a response is required, Google denies that Figure 3 presents a fair and complete description

of the matters described therein and, on that basis, denies the allegations contained in Figure 3.

Google denies any remaining allegations in Paragraph 31 of the Amended Complaint.

       32.     Google admits that other search products and services also sell search ads. Google

admits that advertisers can buy search ads for various products on Amazon, Expedia, and Yelp.

Google denies the remaining allegations in Paragraph 32 of the Amended Complaint.

       33.     Google admits that some advertisers seek to reach a large group of consumers, and

those advertisers may benefit from access to more consumers, but otherwise denies the allegations

in the first sentence of Paragraph 33 of the Amended Complaint. Google denies the allegations in

the second sentence of Paragraph 33 of the Amended Complaint. Google admits the existence of a

document containing the quoted language in the last sentence of Paragraph 33 of the Amended

Complaint, but denies Plaintiffs’ characterization of the substance of that document.

       34.     Google denies the allegations in the first and second sentences of Paragraph 34 of

the Amended Complaint. Google lacks sufficient information as to the operation of various

unidentified “[a]dvertising agencies and larger companies” and, on that basis, denies the remaining

allegations in Paragraph 34 of the Amended Complaint.

       35.     Google denies the allegations in the first and second sentences of Paragraph 35 of

the Amended Complaint, and in particular notes that when Google was first starting up, it was able

to compete for users by developing a better product, despite having fewer user queries than larger

competitors had at the time. As to the third sentence of Paragraph 35 of the Amended Complaint,



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Google admits that a search product or service employed by more users can, depending on the

circumstances, provide advertisers with access to more users than advertising on a single search

service or product employed by fewer users, but otherwise denies the allegations of the third

sentence. Google denies the remaining allegations in Paragraph 35 of the Amended Complaint.

       36.     Google denies the allegations of Paragraph 36 except to aver that data, depending

on the circumstances, can be used to improve search results.

       37.     Google admits that a search product or service employed by more users can,

depending on the circumstances, provide advertisers with access to more users than advertising on

a single search product or service employed by fewer users. Google denies the remaining

allegations in Paragraph 37 of the Amended Complaint.

       38.      Google denies the allegations in Paragraph 38 of the Amended Complaint.

       39.     Google admits that consumers can access search products and services in a number

of ways, including through browsers and search apps on mobile devices, desktops, laptops, and

other devices, and that Google distributes its search products and services, including its search

engine, to be available to consumers in those ways, but denies the remaining allegations in

Paragraph 39 of the Amended Complaint.

       40.     Google admits that companies that provide search products and services can enter

into agreements with other companies, such as desktop, laptop, and mobile-device manufacturers,

cell phone carriers, and browser developers for the distribution or promotion of search products

and services, including agreements that provide for a search product or service to be the out-of-the-

box default search product or service for certain search access points, although Google notes that,

at least in the agreements it has entered into, consumers have the choice whether to change the

default away from Google services. Google denies the remaining allegations in Paragraph 40 of



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the Amended Complaint.

       41.     Google admits that the Plaintiffs’ allegations in the first, second, and third sentence

of Paragraph 41 “generally” describe the characteristics of certain products in the categories listed,

though Google lacks sufficient information as to all such products and, on that basis, denies the

allegations to the extent Plaintiffs’ allegations could be interpreted to apply to all such products.

As to the fourth sentence in Paragraph 41 of the Amended Complaint, Google admits that certain

search access points at times set a certain search provider as the out-of-the-box default, though

Google notes that at least in the agreements it has entered into, consumers have the choice whether

to change the default away from Google services, and otherwise denies the allegations in this

sentence. As to the allegations in the fifth sentence in Paragraph 41 of the Amended Complaint,

Google admits that being the out-of-the-box default search product or service on certain search

access points, depending on the setting, has value, but denies the remaining allegations in this

sentence.

       42.     Google admits that some sources depict the number of U.S. queries on mobile

devices as greater than the number of queries on desktops and laptops today, but otherwise lacks

knowledge sufficient to form a belief as to the truth or falsity of the allegations in Paragraph 42 of

the Amended Complaint, and, on that basis, denies them.

       43.     Google denies the allegations in the first sentence of Paragraph 43 of the Amended

Complaint on the ground that “usage” is undefined, rendering the measurement vague as a matter

of law, and that, to the extent not vague, Google lacks knowledge or information sufficient to form

a belief as to their truth or falsity. As to the second sentence of Paragraph 43 of the Amended

Complaint, Google admits that Apple does not license iOS to third-party mobile-device

manufacturers and admits that Apple is a “closed ecosystem” to the extent Plaintiffs define “closed



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ecosystem” to mean that Apple does not license iOS to third-party mobile-device manufacturers.

As to the third sentence of Paragraph 43 of the Amended Complaint, Google admits that Android

is an operating system that Google licenses open-source with an Apache license, denies that it

“controls” Android, and denies the remaining allegations on the ground that “usage” is undefined,

rendering the measurement vague as a matter of law, and that, to the extent not vague, Google

lacks knowledge or information sufficient to form a belief as to their truth or falsity. Google

admits the allegations in the fourth sentence of Paragraph 43 of the Amended Complaint. Google

lacks sufficient information concerning the allegations in the fifth sentence of Paragraph 43 of the

Amended Complaint, and, on that basis, denies the allegations.

       44.     Google admits that mobile-device users can access search services and products

through various means, including browsers, widgets, apps, and voice assistants. To the extent that

Figure 4 purports to depict, construe, or describe how Google delivers Google Search on Android

devices, no response is required; to the extent a response is required, Google denies that Figure 4

presents a fair and complete description of the matters described therein and, on that basis, denies

the allegations contained in Figure 4. Google denies the remaining allegations in Paragraph 44 of

the Amended Complaint.

       45.     Google admits the allegations in the first sentence of Paragraph 45 of the Amended

Complaint. As to the second and third sentences of Paragraph 45, Google admits that companies

that provide search products and services can enter into agreements with companies such as

mobile-device manufacturers, cell phone carriers, and browser developers for the distribution or

promotion of search products and services, including agreements that provide for a search product

or service to be the out-of-the-box default search product or service for certain search access

points, but denies any remaining allegations of those sentences. As to the fourth and fifth



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sentences of Paragraph 45, Google admits that it has an agreement with Apple, under which

Google is the out-of-the-box default search provider for Apple’s Safari browser and certain other

search access points, though Google notes that consumers have the choice whether to change the

out-of-the-box default on Safari and which search product or service or application to use on

Safari. Google denies the remaining allegations in Paragraph 45 of the Amended Complaint.

       46.     Google admits that it has an agreement with Apple, under which Google is the out-

of-the-box default search provider for Apple’s mobile Safari browser, and that Google is the initial

default search provider for certain search access points on Chrome mobile browser, though Google

notes that consumers have the choice whether to change the default on Safari and Chrome and

which search product or service to use on Safari or Chrome or when using another mobile

application. Google lacks information sufficient as to the truth or falsity of the remaining

allegations of Paragraph 46, and on that basis, denies them; Google further avers that certain

sources may purport to report similar figures.

       47.     Google admits that attaining a preinstalled search access point, depending on the

setting, can encourage utilization of a service, but lacks sufficient information concerning the

allegations in the first, second, and fourth sentences of Paragraph 47 of the Amended Complaint,

and, on that basis, denies the remaining allegations. As to the third sentence of Paragraph 47 of the

Amended Complaint, Google admits the existence of a document containing the quoted language,

but denies the remainder of Plaintiffs’ allegations characterizing the substance of that document

and otherwise denies the remaining allegations in this sentence.

       48.     Google admits that many consumers access certain search products and services

through a browser by typing a query into the address bar or visiting those search products and

services’ web pages. Google lacks sufficient information concerning the remaining allegations in



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Paragraph 48 of the Amended Complaint and, on that basis, denies the allegations.

       49.     Google lacks sufficient information concerning the allegations in the first four

sentences of Paragraph 49 of the Amended Complaint and, on that basis, denies the allegations.

Google denies the allegations in the fifth sentence of Paragraph 49 of the Amended Complaint.

       50.     Google denies the allegations in the first sentence of Paragraph 50 of the Amended

Complaint on the grounds that “important” is not defined, rendering those allegations vague as a

matter of law. Google lacks sufficient information concerning the remaining allegations in

Paragraph 50 of the Amended Complaint and, on that basis, denies the allegations.

       51.     Google denies the allegations in Paragraph 51 of the Amended Complaint and

specifically notes that the most effective way for a search product or service to reach users and be

competitive is to have a quality product or service that consumers decide to use.

       52.     With respect to the first sentence in Paragraph 52 of the Amended Complaint,

Google admits that it has entered into agreements, including distribution and/or licensing

agreements, with certain manufacturers and carriers that distribute mobile devices with search

access points. Google denies the remaining allegations in this paragraph.

       53.     With respect to the second sentence of Paragraph 53 in the Amended Complaint,

Google admits that it distributes Google Search in part through properties it owns or operates.

Google denies the remaining allegations in Paragraph 53 of the Amended Complaint.

       54.     Google admits that it has three basic types of agreements with mobile device

manufacturers, and that one of these types of agreements relates to the ability of device

manufacturers that preinstall Google’s proprietary apps to modify Android devices in a way that

hinders interoperability. Google denies the remaining allegations in Paragraph 54 of the Amended

Complaint.



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       55.     Google admits that it offers Google application program interfaces (APIs) and

proprietary Google apps free of charge to Android device manufacturers that agree to preinstall a

suite of Google apps, and that these agreements contain various provisions regarding placement of

certain Google apps on devices’ system partitions and default home screen for the out-of-the-box

settings. Google denies the remaining allegations in Paragraph 55 of the Amended Complaint.

       56.     Google admits that it has entered agreements with certain Android device

manufacturers, mobile phone carriers, browser providers, and Apple for the distribution and

promotion of Google’s products and services. Google further admits that certain agreements

provide for Google Search to be the out-of-the-box default search service for certain search access

points on desktops, laptops, and mobile devices and that, in exchange, Google shares a portion of

revenue received from enrolled devices. Google denies the remaining allegations in Paragraph 56

of the Amended Complaint.

       57.     Google denies the allegations in Paragraph 57 of the Amended Complaint.

       58.     Google denies the allegations in the first sentence of Paragraph 58 of the Amended

Complaint. As to the second sentence of Paragraph 58 of the Amended Complaint, Google admits

that in the late 1990s and early 2000s, most internet searches were performed on desktop and

laptop browsers, but denies the remaining allegations in this sentence. As to the third sentence of

Paragraph 58 of the Amended Complaint, Google admits that its 2007 Form 10-K contains the

quoted language, but denies Plaintiffs’ allegations characterizing the substance of that document.

       59.     Google admits that it has worked with mobile device manufacturers (such as LG,

Motorola, and Samsung) and carriers (such as AT&T, T-Mobile/Sprint, and Verizon) for the

distribution and promotion of Google’s search products and services, but otherwise denies the

allegations in the first sentence of Paragraph 59 of the Amended Complaint. As to the second



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sentence of Paragraph 59 of the Amended Complaint, Google admits the existence of a document

containing the quoted language, but denies the remainder of Plaintiffs’ allegations characterizing

the substance of that document.

       60.     Google admits that Google Inc. purchased the Android mobile operating system in

2005, but denies Plaintiffs’ characterization of that transaction. Google admits that it began

offering Android open-source with an Apache license in or around 2007. Google denies the

remaining allegations in Paragraph No. 60 of the Amended Complaint.

       61.     Google admits that Android attracted consumers, app developers, manufacturers,

and carriers but otherwise denies the allegations in the first sentence of Paragraph 61 of the

Amended Complaint. As to the second sentence of Paragraph 61 of the Amended Complaint,

Google admits the existence of a document containing the quoted language, but denies the

remainder of Plaintiffs’ allegations characterizing the substance of that document. Google lacks

sufficient information concerning the allegations in the third sentence of Paragraph 61 of the

Amended Complaint, and, on that basis, denies the allegations.

       62.     Google admits that Android attracted consumers, app developers, manufacturers,

and carriers, but otherwise denies the allegations in the first and second sentences of Paragraph 62

of the Amended Complaint. Google denies the allegations in the third sentence of Paragraph 62 of

the Amended Complaint.

       63.     Google denies the allegations in the first and third sentences of Paragraph 63 of the

Amended Complaint. As to the second sentence of Paragraph 63 of the Amended Complaint,

Google admits the existence of a document containing the quoted language, but denies the

remainder of Plaintiffs’ allegations characterizing the substance of that document.

       64.     As to the first and second sentences of Paragraph 64 of the Amended Complaint,



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Google admits the existence of a document containing the quoted language, but denies the

remainder of Plaintiffs’ allegations in those sentences. As to the third sentence of Paragraph 64 of

the Amended Complaint, Google admits that the “Google Play” App store contains a large number

of apps, but denies the remaining allegations in the sentence. Google denies the allegations in the

fourth, fifth, and sixth sentence of Paragraph 64 of the Amended Complaint, on the grounds that

Google lacks knowledge or information sufficient to form a belief as to their truth or falsity. As to

the final sentence of Paragraph 64 of the Amended Complaint, Google admits that Android

competes with Apple’s iOS, which has significant United States presence and is not licensed to

other manufacturers. Google denies the remaining allegations in Paragraph 64 of the Amended

Complaint.

       65.     Google denies the allegations in the first and third sentences of Paragraph 65 of the

Amended Complaint. As to the second sentence of Paragraph 65 of the Amended Complaint,

Google admits the existence of a document containing the quoted language, but denies the

remainder of Plaintiffs’ allegations characterizing the substance of that document. To the extent

that Figure 5 purports to depict, construe, or describe any agreements or documents, no response is

required; to the extent a response is required, Google denies that Figure 5 presents a fair and

complete description of the matters described therein and, on that basis, denies the allegations

contained in Figure 5.

       66.     Google admits that Android is an operating system that Google licenses open-

source with an Apache license, and admits that it updates the Android code periodically and makes

it publicly available. Google denies the remaining allegations in Paragraph 66 of the Amended

Complaint.

       67.     Google admits that a Google internal document contains the quoted language in the



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second sentence of Paragraph 67 of the Amended Complaint but denies the remainder of Plaintiffs’

allegations characterizing the substance of that document. Google denies the remaining allegations

in Paragraph 67 of the Amended Complaint.

       68.    Google admits that certain parties agree not to develop or market versions of

Android that do not comply with the baseline defined in the Android Compatibility Definition

Document (CDD) that facilitates interoperability. Google denies the remaining allegations in

Paragraph 68 of the Amended Complaint.

       69.    Google admits that it previously offered certain parties the option to enter into an

agreement known as the “Anti-Fragmentation Agreement” (AFA), that it began to offer an

agreement known as the “Android Compatibility Commitment” (ACC) in 2017, and that it was

investigated by the European Commission in 2017. Google admits that it has an AFA or ACC

with LG, Motorola, and Samsung. Google denies the remaining allegations in Paragraph 69 of the

Amended Complaint.

       70.    Google admits that ACCs grant manufacturers flexibility in building devices or

supplying components for third parties without regard to compliance with the CDD, flexibility also

allowed in practice under AFAs. Google admits that ACC and AFA signatories agree not to

develop or market versions of Android that do not comply with the baseline defined in the CDD

that facilitates interoperability. Google admits that Android manufacturers such as LG, Motorola,

and Samsung have entered into AFAs or ACCs. Google denies the remaining allegations in

Paragraph 70 of the Amended Complaint.

       71.    Google admits that certain manufacturers of tablets, smart TVs, watches, and

automotive devices have agreed to adhere to baseline Android compatibility. Google denies the

remaining allegations in Paragraph 71 of the Amended Complaint.



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       72.     Google admits that AFA and ACC signatories have a choice whether to enter into

Mobile Application Distribution Agreements (MADAs) to license Google APIs in building devices

and to distribute devices with proprietary Google apps. Google admits that LG, Motorola, and

Samsung have entered into MADAs. Google lacks sufficient information as to the remaining

allegations of Paragraph 72 of the Amended Complaint and, on that basis, denies the allegations.

       73.     Google denies the allegations in the first sentence of Paragraph 73 of the Amended

Complaint. With respect to the second sentence of Paragraph 73 of the Amended Complaint,

Google admits that it has referred to certain Google APIs and proprietary Google apps as “Google

Mobile Services” (GMS). With respect to the third and fourth sentences, Google admits that GMS

includes proprietary apps such as Google’s search app, Chrome, YouTube, Google Maps, and

Google Play (Google’s app store). With respect to the fifth and sixth sentences, Google admits

that app stores offer easy access to apps and further admits that a public source has estimated that

Google Plays offers about three million apps, which is more than other app stores (including

Apple’s App Store) offer. As to the allegations in the seventh sentence of Paragraph 73 of the

Amended Complaint, Google lacks knowledge or information sufficient to form a belief as to their

truth or falsity, and on that basis, denies the allegations. Google denies the allegations in the last

sentence of Paragraph 73 of the Amended Complaint and denies any remaining allegations in

Paragraph 73 of the Amended Complaint.

       74.     Google lacks sufficient information as to which features of GMS developers

consider to be “key” and, on that basis, denies the allegations in the first sentence of Paragraph 74

of the Amended Complaint. Google admits the second sentence of Paragraph 74 of the Amended

Complaint. Google admits that GPS allows third-party apps to perform certain functions related to

Google’s proprietary apps. Google denies the remaining allegations in Paragraph 74 of the



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Amended Complaint.

       75.     Google denies the allegations in Paragraph 75 of the Amended Complaint.

       76.     Google admits that Android device manufacturers have a choice whether to enter

into MADAs to license Google APIs and to distribute devices with proprietary Google apps, and

that these agreements contain various provisions regarding placement of certain Google apps on

devices’ system partitions and default home screen for the out-of-the-box settings, though the

specific terms have changed over time. Google denies the remaining allegations in Paragraph 76

of the Amended Complaint.

       77.     Google admits that, pursuant to certain MADAs and certain revenue sharing

agreements, certain manufacturers agree to preinstall Google Search as the out-of-the-box default

search service for certain search access points on their devices. Google denies any remaining

allegations in Paragraph 77 of the Amended Complaint.

       78.     Google admits that certain Android manufacturers and carriers have entered into

agreements with Google for distribution and promotion of Google’s products and services,

including agreements that provide for Google’s search to be the out-of-the-box default search

service for certain search access points, and that, in exchange, Google shares a portion of revenue

received from devices enrolled. Google admits that AT&T, T-Mobile, Verizon, and Samsung have

had RSAs with Google. To the extent that Paragraph 78 of the Amended Complaint asserts

additional or different allegations, Google denies those allegations.

       79.     Google denies the allegations in Paragraph 79 of the Amended Complaint.

       80.     Google admits that new search access points can be and have been developed, but

otherwise denies the allegations in Paragraph 80 of the Amended Complaint.

       81.     Google admits that following recent negotiations, some manufacturers have signed



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mobile incentive agreements (MIAs), agreeing to preinstall Google Search as the out-of-the-box

default search service for certain search access points and to preinstall a suite of Google apps.

Google admits that LG and Motorola have entered mobile incentive agreements with Google.

Google denies the remaining allegations in Paragraph 81 of the Amended Complaint.

       82.     Google admits that MIA signatories may opt to preinstall Google Search as the out-

of-the-box default search service for certain search access points to attain certain revenue share.

Google admits that a Google internal document contains the quoted language in the second

sentence of Paragraph 82 of the Amended Complaint, but denies the remainder of Plaintiffs’

allegations characterizing the substance of that document, and denies the remainder of the second

sentence of Paragraph 82 of the Amended Complaint. Google denies the allegations in the third

sentence of Paragraph 82 of the Amended Complaint, and denies the remaining allegations in

Paragraph 82 of the Amended Complaint.

       83.     Google admits that it has certain revenue sharing agreements (RSAs or MIAs) with

certain U.S. carriers and Android device manufacturers of various sizes. Google lacks information

sufficient to form a belief as to the truth of the remaining allegations of Paragraph 83 of the Amended

Complaint and, on that basis, denies the allegations.

       84.     Google admits that it has entered certain revenue sharing agreements with certain

browsers and device manufacturers, but denies the remaining allegations in Paragraph 84 of the

Amended Complaint.

       85.     As to the first sentence of Paragraph 85 of the Amended Complaint, Google admits

that it has entered search promotion agreements with Apple, but denies the remaining allegations

in this sentence. Google admits the allegations in the second, third, and fourth sentences of

Paragraph 85 of the Amended Complaint. As to the allegations in the fifth and sixth sentences of



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Paragraph 85 of the Amended Complaint, Google lacks sufficient information to form a belief as

to the truth of such allegations and, on that basis, denies the allegations; Google further avers that

certain sources might report similar figures.

       86.     As to the allegations in the first sentence of Paragraph 86 of the Amended

Complaint, Google admits that it amended its agreement with Apple in 2005 to make Google

Search the preset default search engine for Apple’s Safari browser. As to the allegations in the

second sentence of Paragraph 86 of the Amended Complaint, Google admits that it has entered an

agreement to share revenue derived from certain search queries performed on Apple devices, but

otherwise denies the allegations. As to the allegations in the third and fourth sentences of this

paragraph, Google admits that certain provisions of the agreement were amended in 2007 to share

revenue derived from certain search queries performed on iPhones and that certain provisions of

the agreement were amended in 2016 to allow Google Search results to appear in response to

certain Siri and Spotlight queries, but otherwise denies the allegations. Google denies the

allegations in the last sentence of Paragraph 86 of the Amended Complaint.

       87.     Google admits that it has entered agreements with certain non-Google browsers,

including Firefox, Opera, and UCWeb, to share revenue derived from certain search queries

performed on those browsers and that it does not have an agreement with respect to browsers

distributed by Microsoft, but otherwise denies the allegations in the first sentence of Paragraph 87

of the Amended Complaint. Google further admits that certain agreements with certain browsers

cover the desktop, laptop, and web versions of the browsers and, pursuant to those agreements,

Google is the default search engine for certain browsers. Google denies the remaining allegations

in this paragraph.

       88.     The allegations in the first sentence of Paragraph 88 of the Amended Complaint are



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legal conclusions not subject to admission or denial. To the extent a response is required, Google

denies the allegations in the first sentence of Paragraph 88 of the Amended Complaint. Google

admits that search products and services seek to enable consumers to find responsive information

but otherwise denies the allegations in the second sentence of Paragraph 88.

       89.     The allegations in Paragraph 89 of the Amended Complaint are premised on

Plaintiffs’ proposed market definition, a legal conclusion not subject to admission or denial. To

the extent a response is required, Google denies the allegations on the ground that “general search

services” is undefined, rendering those allegations vague as a matter of law, and that to the extent

not vague, Google denies the allegations.

       90.     The allegations in Paragraph 90 of the Amended Complaint are premised on

Plaintiffs’ proposed market definition, a legal conclusion not subject to admission or denial. To

the extent a response is required, Google admits that different search services and products may

provide different types of information, but otherwise denies the allegations in Paragraph 90.

       91.     The allegations in the first, third, and fifth sentences of Paragraph 91 of the

Amended Complaint are premised on Plaintiffs’ proposed market definition, a legal conclusion not

subject to admission or denial. To the extent a response is required, Google denies the allegations

on the ground that “general search services” is undefined, rendering those allegations vague as a

matter of law, and that to the extent not vague, Google denies the allegations. As to the second

sentence of Paragraph 91, Google admits that Google.com can be accessed by users in the United

States but also notes that it can be accessed by users outside the United States, and further admits

that a user’s location is one variable that may affect the search results a user is provided,

depending on the user’s search and user settings, but otherwise denies the allegations in this

sentence. Google denies the allegations in the fourth sentence in Paragraph 91 of the Amended



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Complaint, on the grounds that “search market shares” is undefined, rendering those allegations

vague as a matter of law, and that, to the extent not vague, Google lacks knowledge or information

sufficient to form a belief as to their truth or falsity.

        92.     The allegations in the first sentence of Paragraph 92 of the Amended Complaint are

legal conclusions not subject to admission or denial. To the extent a response is required, Google

denies the allegations in the first sentence of Paragraph 92 of the Amended Complaint. To the

extent that Figure 6 purports to depict, construe, or describe public data sources, no response is

required; to the extent a response is required, Google denies that Figure 6 presents a fair and

complete description of the matters described therein and, on that basis, denies the allegations

contained in Figure 6. Google denies the remaining allegations in Paragraph 92.

        93.     The allegations in Paragraph 93 of the Amended Complaint are premised on

Plaintiffs’ proposed market definition, a legal conclusion not subject to admission or denial. To

the extent a response is required, Google denies the allegations. To the extent that Figure 7 or

Figure 8 purports to depict, construe, or describe public data sources, no response is required; to

the extent a response is required, Google denies that Figure 7 or Figure 8 presents a fair and

complete description of the matters described therein and, on that basis, denies the allegations

contained in Figures 7 and 8. Google denies the remaining allegations in Paragraph 93 of the

Amended Complaint.

        94.     The allegations in the first sentence of Paragraph 94 of the Amended Complaint are

legal conclusions not subject to admission or denial. To the extent a response is required, Google

denies the allegations in the first sentence of Paragraph 94 of the Amended Complaint. Google

denies the remaining allegations in Paragraph 94 of the Amended Complaint on the grounds that

“significant,” “highly complex,” “effective,” “adequate,” and “comprehensive” are undefined,



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rendering those allegations vague as a matter of law and that, to the extent not vague, Google lacks

knowledge or information sufficient to form a belief as to their truth or falsity.

       95.     The allegations in the first sentence of Paragraph 95 of the Amended Complaint are

legal conclusions not subject to admission or denial. To the extent a response is required, Google

denies the allegations in the first sentence of Paragraph 95 of the Amended Complaint. Google

denies the allegations in the second sentence of Paragraph 95 of the Amended Complaint on the

grounds that “search experience” is undefined, rendering those allegations vague as a matter of

law, and that, to the extent not vague, Google lacks knowledge or information sufficient to form a

belief as to their truth or falsity. Google denies the allegations in the third and fourth sentences of

Paragraph 95 of the Amended Complaint.

       96.     Google denies the allegations in Paragraph 96 of the Amended Complaint.

       97.     The allegations in the first sentence of Paragraph 97 of the Amended Complaint are

legal conclusions not subject to admission or denial. To the extent a response is required, Google

denies the allegations in the first sentence of Paragraph 97 of the Amended Complaint. As to the

second sentence in Paragraph 97, Google admits that advertisements may be delivered to users in

response to search queries performed on search services and products such as Google, Microsoft’s

Bing, Amazon, Expedia, and Yelp, but otherwise denies the allegations of the second sentence.

       98.     Google admits that advertisers purchase advertisements that are delivered to users

in response to their search queries, that users’ queries can sometimes reveal their intent, and that

there is value in advertising that is responsive to users’ search queries, but otherwise denies the

allegations in Paragraph 98 of the Amended Complaint.

       99.     The allegations in Paragraph 99 of the Amended Complaint are premised on

Plaintiffs’ proposed market definition, a legal conclusion not subject to admission or denial. To



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the extent a response is required, Google denies the allegations in the first sentence in Paragraph

99 of the Amended Complaint. As to the second and third sentences in Paragraph 99, Google

admits there are differences between advertisements delivered in response to search queries and

advertisements that are not, but otherwise denies the allegations in the second and third sentences

of Paragraph 99 of the Amended Complaint. With respect to the fourth sentence in Paragraph 99,

Google admits the existence of a document with the quoted language, but denies Plaintiffs’

allegations characterizing the substance of that document.

       100.    The allegations in Paragraph 100 of the Amended Complaint are premised on

Plaintiffs’ proposed market definition, a legal conclusion not subject to admission or denial. To

the extent a response is required, Google denies the allegations in Paragraph 100 of the Amended

Complaint.

       101.    The allegations in the first sentence in Paragraph 101 of the Amended Complaint

contain legal conclusions not subject to admission or denial. To the extent a response is required,

Google denies the allegations. With respect to the second and third sentences of Paragraph 101,

Google admits that search engines at times sell advertisements that can be delivered to users along

with users’ search query results and that, on Google’s SERP, such advertisements are readily

distinguishable from search query results; Google further admits that advertisements delivered in

response to users’ queries may differ, including with respect to format (e.g., some advertisements

include text and/or an image) and the information provided to the user, but otherwise denies the

allegations in these sentences. With respect to the fourth sentence in Paragraph 101, Google

admits that certain advertisements delivered in response to Google Search queries include an

image of a product, its price, and a rating, but otherwise denies Plaintiffs’ characterization of such

advertisements. Google denies the allegations in the fifth sentence of Paragraph 101.



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       102.    Google admits that certain advertisers and consumers value advertisements

delivered in response to Google Search queries, but otherwise denies the allegations in Paragraph

102 of the Amended Complaint.

       103.    Google admits that advertisements can be delivered to users in response to their

queries on the internet, including on Google, Microsoft’s Bing, Verizon’s Yahoo!, DuckDuckGo,

Amazon, Kayak, and Yelp, but otherwise denies the allegations in Paragraph 103 of the Amended

Complaint.

       104.    With respect to the first, second, and third sentences in Paragraph 104 of the

Amended Complaint, Google admits that various advertisers use different types of advertisements

to market their products and services in a variety of manners, that advertisements are useful to

Google Search users who are exploring an interest, considering options, and forming a preference,

including about a purchase, and that such advertisements allow advertisers to promote their

products or services, but otherwise denies the allegations in these sentences. As to the fourth

sentence in Paragraph 104, Google admits that advertisers, including Amazon, Expedia, and eBay,

purchase advertisements that can be delivered to users in response to Google Search queries, but

denies the allegations in this sentence regarding Amazon’s, Expedia’s, and eBay’s advertisement

business, strategies, and motivations on the basis that Google lacks sufficient information. Google

denies the allegations in the fifth sentence of Paragraph 104.

       105.    With respect to the first and second sentences in Paragraph 105 of the Amended

Complaint, Google admits that certain advertisements delivered in response to users’ queries

include a link to the relevant advertiser’s website and that certain advertisements do not include

such links, but otherwise denies the allegations of those sentences. With respect to the third and

fourth sentences in Paragraph 105, Google lacks sufficient information concerning Amazon’s



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advertisement business and, on that basis, denies the allegations of those sentences.

       106.    The allegations in Paragraph 106 of the Amended Complaint contain legal

conclusions not subject to admission or denial. To the extent a response is required, Google denies

the allegations in Paragraph 106 of the Amended Complaint.

       107.    The allegations in the first sentence in Paragraph 107 of the Amended Complaint

contain legal conclusions not subject to admission or denial. To the extent a response is required,

Google denies the allegations in that sentence. With respect to the second sentence in Paragraph

107 of the Amended Complaint, Google lacks sufficient information as to the opinions of unnamed

“market participants” regarding the legal conclusions stated in this paragraph and, on that basis,

denies the allegations in the second sentence. With respect to the remaining sentences in

Paragraph 107 of the Amended Complaint, Google admits that advertisements delivered in

response to Google Search queries may vary based upon the location of the user and that it has

analyzed revenue in the United States, but otherwise denies the allegations.

       108.    The allegations in Paragraph 108 of the Amended Complaint contain legal

conclusions not subject to admission or denial. To the extent a response is required, Google denies

the allegations in Paragraph 108 of the Amended Complaint.

       109. The allegations in Paragraph 109 of the Amended Complaint contain legal

conclusions not subject to admission or denial. To the extent a response is required, Google denies

the allegations in Paragraph 109 of the Amended Complaint.

       110.    The allegations in Paragraph 110 of the Amended Complaint contain legal

conclusions not subject to admission or denial. To the extent a response is required, Google

denies the allegations in Paragraph 110 of the Amended Complaint.

       111.    Google denies the allegations in Paragraph 111 of the Amended Complaint.



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       112.    Google denies the allegations in Paragraph 112 of the Amended Complaint.

       113.    Google denies the allegations in Paragraph 113 of the Amended Complaint.

       114.    Google denies the allegations in Paragraph 114 of the Amended Complaint.

       115.    Google denies the allegations in Paragraph 115 of the Amended Complaint.

       116.    Google denies the allegations in Paragraph 116 of the Amended Complaint, except

that Google admits that it amended certain provisions of its agreement with Apple in 2007 to share

revenue derived from certain search queries performed on iPhones and that Google admits that it

has offered its Android operating system at no cost.

       117.    Google denies the allegations in the first and second sentence of Paragraph 117 of

the Amended Complaint. With respect to the third sentence in this paragraph, Google lacks

sufficient information as to the statement attributed to a competitor, and on that basis, denies the

allegations, and further denies Plaintiffs’ characterization.

       118.    As to the allegations in the first sentence of Paragraph 118 of the Amended

Complaint, Google lacks sufficient information concerning Apple’s development of a search

engine and, on that basis, denies the allegations in this sentence. As to the allegations in the

second and third sentences of Paragraph 118 of the Amended Complaint, Google admits that it has

entered an agreement with Apple, that the agreement’s term is for more than one year, that the

amount of revenue Google shared with Apple from search queries performed on Apple devices has

exceeded $1 billion annually, that under the terms of its agreement with Apple, Google Search is

the initial out-of-the-box default search provider for Apple’s Safari browser, and that Google

Search provides responses to certain Siri and Spotlight queries, but Google denies the remaining

allegations in these sentences. As to the allegations in the fourth sentence of Paragraph 118 of the

Amended Complaint, Google lacks sufficient information as to Apple’s worldwide net income



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and, on that basis, denies the allegations in this sentence.

       119.    With respect to the first sentence of Paragraph 119 of the Amended Complaint,

Google admits that users can change the preset default status on Safari from Google Search to

another search engine, but lacks sufficient information as to the remainder of the allegations and,

on that basis, Google denies the remaining allegations. Google denies the allegations in the second

sentence of Paragraph 119 of the Amended Complaint. As to the allegations in the third and fourth

sentences of Paragraph 119 of the Amended Complaint, Google admits the existence of documents

containing the quoted language, but denies the remaining allegations characterizing the substance

of those documents. Google denies the remaining allegations in Paragraph 119 of the Amended

Complaint.

       120.    Google denies the allegations in the first sentence of Paragraph 120 of the Amended

Complaint. As to the allegations in the second sentence of Paragraph 120 of the Amended

Complaint, Google admits that a meeting took place in 2018 between Apple’s and Google’s CEOs,

but otherwise denies the remaining allegations in this sentence. As to the allegations in the third

sentence of Paragraph 120 of the Amended Complaint, Google admits the existence of a document

containing the quoted language, but denies the remaining allegations characterizing the substance

of that document.

       121.    Google denies the allegations in the first sentence of Paragraph 121 of the Amended

Complaint. As to the allegations in the second sentence of Paragraph 121 of the Amended

Complaint, Google lacks sufficient information as to the total search queries performed in the

United States and, on that basis, denies allegations about such queries. As to the allegations in the

third sentence of Paragraph 121 of the Amended Complaint, Google admits that it has estimated

that in 2019 almost 50% of all Google search queries in the United States originated on device



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platforms controlled by Apple. Google denies the remaining allegations in Paragraph 121 of the

Amended Complaint.

       122.    Google denies the allegations in Paragraph 122 of the Amended Complaint, except

that it admits that it provides superior search products and services.

       123.    Google denies the allegations in Paragraph 123 of the Amended Complaint.

       124.    Google admits that Android is an operating system that Google licenses open-

source with an Apache license, but otherwise denies the allegations in the first sentence of

Paragraph 124 of the Amended Complaint. Google denies the allegations in the second and third

sentences of Paragraph 124 of the Amended Complaint. Google admits that revenue-sharing

agreements have certain prerequisites, but otherwise denies the allegations of the last sentence of

Paragraph 124 of the Amended Complaint.

       125.    Google denies the allegations in the first sentence of Paragraph 125 of the Amended

Complaint. As to the second and third sentences of Paragraph 125 of the Amended Complaint,

Google admits that a Google internal document contains the quoted language, but Google denies

the remainder of Plaintiffs’ allegations characterizing the substance of that document.

       126.    As to the first sentence of Paragraph 126 of the Amended Complaint, Google

admits that operating systems, whether Android or alternatives, can, depending on their attributes,

serve as pathways for promotion of Google and/or non-Google products and services, but

otherwise denies the allegations in this sentence. Google denies the allegations in the second

sentence of Paragraph 126 of the Amended Complaint.

       127.    Google admits that, depending on the circumstances, it might be less costly for a

manufacturer to use the Android open-source code than to develop a new operating system through

alternative ways. Google denies the remaining allegations in Paragraph 127 of the Amended



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Complaint.

       128.    Google denies the allegations in the first and second sentence of Paragraph 128 of

the Amended Complaint. Google admits that a Google internal document contains the quoted

language in the last sentence of Paragraph 128 of the Amended Complaint, but denies the

remainder of Plaintiffs’ allegations characterizing the substance of that document, and denies the

remaining allegations in the last sentence of Paragraph 128 of the Amended Complaint.

       129.    With respect to the allegations in the first and last sentences of Paragraph 129 of the

Amended Complaint, Google admits that certain Google agreements give Google the right to

assess compatibility of a GMS device with the CDD, but otherwise denies the allegations. Google

admits that a Google internal document contains the language quoted in the second sentence of

Paragraph 129 of the Amended Complaint, but denies the remainder of Plaintiffs’ allegations

characterizing the substance of that document, and denies any remaining allegations in the second

sentence of Paragraph 129 of the Amended Complaint.

       130.    Google denies the allegations in the first sentence of Paragraph 130 of the Amended

Complaint. As to the second sentence, Google admits that Amazon developed the Fire operating

system (OS), an incompatible variant of Android, but otherwise denies the allegations. Google

admits the allegations in the third and fourth sentence of Paragraph 130 of the Amended

Complaint. Google lacks sufficient information as to the allegations in the fifth sentence of

Paragraph 130 of the Amended Complaint and, on that basis, denies those allegations. Google

admits that Amazon sells Fire tablets but lacks sufficient information about the rest of the

allegations in the last sentence of Paragraph 130 of the Amended Complaint and, on that basis,

denies those allegations.

       131.    Google denies the allegations in the first sentence of Paragraph 131 of the Amended



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Complaint. Google lacks sufficient information as to the remaining allegations in Paragraph 131

of the Amended Complaint, and on that basis, denies the remaining allegations.

       132.    Google denies the allegations of Paragraph 132.

       133.    Google denies the allegations in the first sentence of Paragraph 133 of the Amended

Complaint. Google admits that some consumers employ search access points preloaded on the

default home screen, but denies the remaining allegations in the second sentence of Paragraph 133

of the Amended Complaint. Google denies the allegations in the last sentence of Paragraph 133 of

the Amended Complaint.

       134.    Google admits that some manufacturers have agreed, in exchange for access to

certain Google APIs and apps, to preinstall Google Play, Chrome, Google Search, Gmail, Maps,

and YouTube on the devices. Google denies the remaining allegations in Paragraph 134 of the

Amended Complaint.

       135.    The allegations in the first and third sentence of Paragraph 135 of the Amended

Complaint are legal conclusions not subject to admission or denial. To the extent a response is

required, Google denies the allegations in the first and third sentence of Paragraph 135 of the

Amended Complaint. Google denies the remaining allegations in Paragraph 135 of the Amended

Complaint.

       136.    Google admits that Google internal documents contain the quoted language in the

first and second sentence of Paragraph 136 of the Amended Complaint, but denies the remainder

of Plaintiffs’ allegations characterizing the substance of those documents. Google denies the

remaining allegations in Paragraph 136 of the Amended Complaint.

       137.    Google admits that Google Search is the default out-of-the-box search service for

certain Google apps, including the Chrome app. Google admits that an internal document contains



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the quoted language in the third sentence of Paragraph 137 of the Amended Complaint, but denies

the remainder of Plaintiffs’ allegations characterizing the substance of that document. To the

extent that Figure 9 purports to depict, construe, or describe search distribution on Android, no

response is required; to the extent a response is required, Google denies that Figure 9 presents a

fair and complete description of the matters described therein and, on that basis, denies the

allegations contained in Figure 9. Google denies the remaining allegations in Paragraph 137 of the

Amended Complaint.

       138.    Google denies the allegations in the first sentence of Paragraph 138 of the Amended

Complaint. Google admits that some Android distributors have entered agreements with Google

for the promotion of Google’s products and services, including agreements that provide for

Google’s search widget to be preinstalled on the device default home screen in the out-of-the-box

configuration, but denies the remaining allegations in the second sentence of Paragraph 138 of the

Amended Complaint. Google admits that a Google internal document contains the quoted

language in the third sentence of Paragraph 138 of the Amended Complaint, but denies the

remainder of Plaintiffs’ allegations characterizing the substance of that document, and denies the

remaining allegations in that sentence. Google denies the allegations in the fourth sentence of

Paragraph 138 of the Amended Complaint.

       139.    Google admits that some Android distributors have entered agreements with Google

for the promotion of Google’s products and services, including agreements that provide for the

preinstallation of Google Assistant as the default assistant app in the out-of-the-box configuration

and invocation of the Assistant by hotword and touch, but otherwise denies the allegations in the

first sentence of Paragraph 139 of the Amended Complaint. Google denies the remaining

allegations in Paragraph 139 of the Amended Complaint.



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       140.    Google denies the allegations in Paragraph 140 of the Amended Complaint.

       141.    Google denies the allegations in the first sentence of Paragraph 141 of the Amended

Complaint on the grounds that “important” and “emerging” are undefined, rendering those

allegations vague as a matter of law, and to the extent not vague, Google lacks knowledge or

information sufficient to form a belief as to their truth or falsity. Google admits that Google

internal documents contain the quoted language in the second sentence of Paragraph 141 of the

Amended Complaint, but denies the remainder of Plaintiffs’ allegations characterizing the

substance of those documents.

       142.    Google denies the allegations in the first sentence of Paragraph 142 of the Amended

Complaint. Google admits that a Google internal document from 2011 contains the quoted

language in the third sentence of Paragraph 142 of the Amended Complaint, but denies the

Plaintiffs’ remaining allegations characterizing the substance of that document. Google denies the

remaining allegations in Paragraph 142 of the Amended Complaint.

       143.    Google admits that a Google internal document contains the quoted language in the

second sentence of Paragraph 143 of the Amended Complaint, but denies the remainder of

Plaintiffs’ allegations characterizing the substance of that document, and denies the remaining

allegations in Paragraph 143 of the Amended Complaint.

       144.    Google admits that some Android distributors have entered agreements with Google

for the promotion of Google’s products and services, including agreements that provide for Google

Search to be the out-of-the-box default search service for certain search access points on mobile

devices, and that, in exchange, Google shares a portion of revenue received from enrolled devices.

Google denies the remaining allegations in Paragraph 144 of the Amended Complaint.

       145.     To the extent that Figure 10 or Figure 11 purports to depict, construe, or describe



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drafts of one or more documents, no response is required; to the extent a response is required,

Google denies that Figure 10 or Figure 11 presents a fair and complete description of the matters

described therein and, on that basis, denies the allegations contained in Figures 10 and 11. Google

admits that a draft 2014 Google strategy deck contains the quoted language and Figures 10 and 11,

but denies the remainder of Plaintiffs’ allegations characterizing the substance of that document,

including but not limited to the first and second sentences of Paragraph 145.

       146.    Google admits that Google internal documents contain the quoted language in

Paragraph 146 of the Amended Complaint, but denies the remainder of Plaintiffs’ allegations

characterizing the substance of those documents, and denies the remaining allegations in this

paragraph.

       147.    Google denies the allegations in the first sentence of Paragraph 147 of the Amended

Complaint. Google admits that Google internal documents contain the quoted language in the

second and third sentences of Paragraph 147 of the Amended Complaint, but denies the remainder

of Plaintiffs’ allegations characterizing the substance of those documents, and denies the remaining

allegations in the second and third sentence of Paragraph 147 of the Amended Complaint. Google

denies the allegations in the last sentence of Paragraph 147 of the Amended Complaint.

       148.    Google denies the allegations in the first sentence of Paragraph 148 of the Amended

Complaint. With respect to the second sentence of Paragraph 148, Google admits that in 2019, it

shared revenue with U.S. carriers in an aggregate amount exceeding $1 billion.

       149.    Google denies the allegations in the first sentence of Paragraph 149 of the Amended

Complaint. Google admits that a consumer, on his or her own, can download a search app that is

not offered by Google. Google admits that a Google internal document contains the quoted

language in the last sentence of Paragraph 149 of the Amended Complaint, but denies the



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remainder of Plaintiffs’ allegations characterizing the substance of that document as well as the

remaining allegations in the last sentence of Paragraph 149 of the Amended Complaint.

       150.    Google denies the allegations in Paragraph 150.

       151.    Google denies the allegations in the first and last sentence of Paragraph 151 of the

Compliant. Google admits that it has developed Gboard, a virtual keyboard app. Google admits

that Google internal documents contain the quoted language in the second and third sentences of

Paragraph 151 of the Amended Complaint, but denies the remainder of Plaintiffs’ allegations

characterizing the substance of those documents and denies the remaining allegations in those

sentences.

       152.    Google denies the allegations in the first and last sentence of Paragraph 152 of the

Amended Complaint. Google admits that some of the revenue sharing agreements that carriers and

manufacturers have executed with Google have multi-year terms. With respect to the third

sentence of Paragraph 152, Google admits that it may not pay a share of its revenue to

manufacturers or carriers with whom it has no active revenue share agreement, but otherwise

denies the allegation in this sentence. Google denies the last sentence of Paragraph 152 of the

Amended Complaint. Google denies any remaining allegations in paragraph 152 of the Amended

Complaint.

       153.    Google denies the allegations in Paragraph 153 of the Amended Complaint.

       154.    Google denies the allegations in Paragraph 154 of the Amended Complaint.

       155.    Google denies the allegations in Paragraph 155 of the Amended Complaint.

       156.    As to the first sentence in Paragraph 156 of the Amended Complaint, Google

admits that it has entered agreements with certain browsers to share revenue derived from certain

search queries performed on such browsers, but otherwise denies the allegations in this sentence.



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As to the allegations in the second sentence of Paragraph 156 of the Amended Complaint, Google

admits the existence of a document containing the quoted language, but denies the remaining

allegations characterizing the substance of that document. As to the allegations in the third

sentence in Paragraph 156 of the Amended Complaint, Google admits that it is the preset default

search engine for certain browsers’ laptop, desktop, and mobile versions, but otherwise denies the

allegations in this sentence.

       157.    Google admits that it has entered agreements with certain browsers to share a

certain percentage of revenue derived from certain search queries performed on those browsers.

Google admits that browser agreements have had multi-year terms and have been extended in the

past. Google denies all remaining allegations in Paragraph 157 of the Amended Complaint.

       158.    As to the allegations in the first and second sentences of Paragraph 158, Google

admits that browsers provide distribution channels for search products and services and that

consumers can access the internet through browsers, but otherwise denies the allegations. As to

the third sentence in Paragraph 158 of the Amended Complaint, Google admits that it has entered

agreements to share revenue derived from certain search queries performed on Apple’s Safari

browser and Mozilla’s Firefox browser. Google further admits that it does not have an agreement

to share revenue derived from search queries performed on Microsoft’s browsers. As to the

allegations in the fourth sentence of Paragraph 158 of the Amended Complaint, Google lacks

sufficient information concerning how many total queries are performed through all browsers and,

on that basis, denies allegations characterizing how many total queries are performed through all

devices’ browsers. Google also lacks sufficient information concerning browser utilization on

non-Google properties and, on that basis, denies allegations concerning the percent of browser

utilization covered by Google’s agreements with browser providers. Google denies the remaining



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allegations in Paragraph 158 of the Amended Complaint.

       159.    Google admits that Google’s rivals can and do compete to be the preset default

search engine on browsers. As to the allegations in the final sentence of Paragraph 159 of the

Amended Complaint, Google admits the existence of a document containing the quoted language,

but denies the remaining allegations characterizing the substance of that document. Google denies

the remaining allegations in Paragraph 159 of the Amended Complaint.

       160.    Google lacks sufficient information as to the allegations in the first sentence of

Paragraph 160 of the Amended Complaint and, on that basis, denies the allegations. Google

denies the allegations in the second sentence of Paragraph 160 of the Amended Complaint.

       161.    Google admits that certain AFAs and ACCs apply to certain categories of Android

devices. Google denies the second and third sentences of Paragraph 161 of the Amended

Complaint. Google denies any remaining allegations in Paragraph 161 of the Amended

Complaint.

       162.    Google denies the allegations in the first sentence of Paragraph 162. Google admits

that it partners with some automobile manufacturers, and that some of the automobile

manufacturers preinstall certain of Google’s mobile applications, but denies the remaining

allegations in the second sentence of Paragraph 162 of the Amended Complaint. Google admits

that it has some agreements with some smart watch manufacturers under which some smart watch

manufacturers agree to preinstall Google’s software, Wear OS. Google denies the remaining

allegations in Paragraph 162 of the Amended Complaint.

       163.    Google denies the allegations in Paragraph 163 of the Amended Complaint.

       164.    Google denies the allegations in the first sentence of Paragraph 164 of the Amended

Complaint. Google admits that Google internal documents contain the quoted language in the



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second and third sentences of Paragraph 164 of the Amended Complaint, but denies the remainder

of Plaintiffs’ allegations characterizing the substance of those documents.

       165.    Google denies the allegations in Paragraph 165 of the Amended Complaint.

       166.    Google denies the allegations in Paragraph 166 of the Amended Complaint.

       167.    Google denies the allegations in Paragraph 167 of the Amended Complaint.

       168.    Google denies the allegations in Paragraph 168 of the Amended Complaint.

       169.    Google denies the allegations in Paragraph 169 of the Amended Complaint.

       170.    Google admits that, since its inception, its mission has been to organize the world’s

information and make it universally accessible and useful. Google further admits that its SERP

sometimes contains advertisements and features designed for particular categories of queries.

Google denies the remaining allegations in Paragraph 170 except avers that it lacks sufficient

information as to the allegations in the final sentence of Paragraph 170 and, on that basis, denies

the allegations.

       171.    Google denies the allegations in Paragraph 171 of the Amended Complaint.

       172.    Google denies the allegations in Paragraph 172 of the Amended Complaint.

       173.    Google restates its response to every allegation set forth above as if stated herein.

       174.    Google denies the allegations in Paragraph 174 of the Amended Complaint.

       175.    Google denies the allegations in Paragraph 175 of the Amended Complaint.

       176.    Google denies the allegations in Paragraph 176 of the Amended Complaint.

       177.    Google denies the allegations in Paragraph 177 of the Amended Complaint.

       178.    Google denies the allegations in Paragraph 178 of the Amended Complaint.

       179.    Google denies the allegations in Paragraph 179 of the Amended Complaint.

       180.    Google restates its response to every allegation set forth above as if stated herein.



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        181.   Google denies the allegations in Paragraph 181 of the Amended Complaint.

        182.   Google denies the allegations in Paragraph 182 of the Amended Complaint.

        183.   Google denies the allegations in Paragraph 183 of the Amended Complaint.

        184.   Google denies the allegations in Paragraph 184 of the Amended Complaint.

        185.   Google denies the allegations in Paragraph 185 of the Amended Complaint.

        186.   Google denies the allegations in Paragraph 186 of the Amended Complaint.

        187.   Google restates its response to every allegation set forth above as if stated herein.

        188.   Google denies the allegations in Paragraph 188 of the Amended Complaint.

        189.   Google denies the allegations in Paragraph 189 of the Amended Complaint.

        190.   Google denies the allegations in Paragraph 190 of the Amended Complaint.

        191.   Google denies the allegations in Paragraph 191 of the Amended Complaint.

        192.   Google denies the allegations in Paragraph 192 of the Amended Complaint.

        193.   Google denies the allegations in Paragraph 193 of the Amended Complaint.

        194.   To the extent that an answer is required to the Request for Relief, Google denies the

allegations contained therein. Google further states that Plaintiffs are not entitled to any remedies

sought in the amended complaint.

                                   AFFIRMATIVE DEFENSES

        Without assuming any burden that it would not otherwise bear, Google asserts the

following defenses to the Amended Complaint. Further, Google reserves all affirmative defenses

under Federal Rule of Civil Procedure 8(c) and any other defenses, at law or in equity, that may

now exist or in the future be available based on discovery and further factual investigation in this

case.




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                                            First Defense

        Plaintiffs’ claims are barred in whole or in part for failure to state a claim upon which relief

can be granted.

                                           Second Defense

        Any and all of Google’s actions alleged by Plaintiffs were lawful, justified, procompetitive,

and carried out in Google’s legitimate business interests and constitute bona fide competitive

activity.

                                            Third Defense

        The relief sought by Plaintiffs would be contrary to the public interest, harm consumers,

and is otherwise inequitable, impractical, and unworkable.



        Google reserves the right to supplement its Answer and affirmative defenses with

additional defenses that become available or apparent in the course of investigation, preparation,

and/or discovery, and to amend its Answer accordingly.

                                      PRAYER FOR RELIEF

        WHEREFORE, Google prays for relief as follows:

               (a) That the Amended Complaint against Google be dismissed in its entirety, with

        prejudice;

               (b) That Google be awarded its attorneys’ fees and costs and expenses of the suit;

        and

               (c) That the Court award such other and further relief to Google as the Court deems

        just and proper.




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Dated: January 29, 2021            Respectfully submitted,

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